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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: RECIPROCAL                        )      Misc. No. 2:22-698
 ADMINISTRATIVE SUSPENSION OF             )
 ATTORNEYS ADMITTED TO THE                )
 BAR OF THIS COURT                        )


               ORDER REACTIVATING BAR MEMBERSHIP OF BRYAN D. ROHM

       AND NOW, on this 26th day of August 2022, upon consideration of Attorney Bryan D.

Rohm’s Motion to Reinstate Membership Status (ECF #4), it is hereby ORDERED that the

Motion is GRANTED and Attorney Rohm, PA Attorney Registration Number 209522, is

returned to active status in the Bar of the United States District Court for the Western District of

Pennsylvania, effective immediately upon entry of this order on the above-captioned docket.

The Clerk of Court is directed to update Attorney Rohm’s status in the Court’s attorney

admission records and to reactivate his CM/ECF Filing User account.

                                                     FOR THE COURT:

                                                     /s/ Mark R. Hornak
                                                     Mark R. Hornak
                                                     Chief United States District Judge


cc: Bryan D. Rohm, via email
